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UNITED STATES DISTRICT COURT
District of Minnesota

United States of America, JUDGMENT IN A CRIMINAL CASE

Plaintiff,
V. Case No. 20-cr-00230-ECT-TNL-2

Joel Llamas Garcia,

Defendant.

O Jury Verdict. This action came before the Court for a trial by jury. The issues have been
tried and the jury has rendered its verdict.

Decision by Court. This action came to trial or hearing before the Court. The issues have

been tried or heard and a decision has been rendered.

IT IS ORDERED THAT:

1. Defendant Joel Llamas Garcia’s Motion to Vacate, Set Aside, or Correct
Sentence under 28 U.S.C. § 2255 [ECF No. 194] is DENIED.

2. Defendant’s request for an evidentiary hearing is DENIED.

3. No certificate of appealability shall issue.

Date: November 13, 2024 Kate M. Fogarty, Clerk
